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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                           EASTERN DIVISION

Leonard Despenza                     )
                                     )
                   Plaintiff,        )
                                     )
             -vs-                    )          No. 13-cv-_____
                                     )
Thomas Dart, Sheriff of Cook County, )          (jury demand)
and Cook County, Illinois,           )
                                     )
                   Defendants.       )

                                  COMPLAINT

       Plaintiff, by counsel, alleges as follows:

       1.    This is a civil action arising under Section 202 of the Americans with

Disabilities Act, 42 U.S.C. §12132, Section 504 of the Rehabilitation Act, 29

U.S.C. §794(a), and 42 U.S.C. §1983. The jurisdiction of this Court is conferred

by 28 U.S.C. §12133, 29 U.S.C. §794a(a)(2), and 28 U.S.C. §1343.

       2.    Plaintiff Leonard Despenza is a disabled resident of the Northern

District of Illinois who is afflicted with pancreatic cancer, is missing his right leg,

and is wheelchair bound.

       3.    Defendant Thomas Dart is the Sheriff of Cook County. Plaintiff sues

Dart in his individual and official capacity.

       4.    Defendant Cook County is joined in this action pursuant to Carver v.

Sheriff of LaSalle County, 324 F. 3d 947 (7th Cir. 2003) and may be liable for the

wrongdoing alleged in this complaint.
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      5.      Plaintiff was arrested in August of 2012. Following treatment at

Norwegian Hospital and Stroger Hospital, plaintiff was transferred to the Cook

County Jail in late October or early November of 2012.

      6.      In the course of processing plaintiff into the Jail, medical personnel

employed by defendant Cook County determined that plaintiff was disabled and

required assignment to an “ADA compliant” housing unit at Cermak Health

Services.

      7.      In 2011, defendant Dart learned through a case known as Phipps v.

Sheriff of Cook County, 07-cv-3889:

      a. that Cermak Health Services has two “ADA compliant” housing units

            for wheelchair bound male detainees and that each of these housing

            units could provide ADA compliant facilities for four wheelchair bound

            persons, and

      b. that the correctional officer in charge of determining housing

            assignments for wheelchair bound detainees did not consider whether a

            particular housing assignment provided a reasonable accommodation for

            the detainee’s disability.

      8.      In the fall of 2012, when plaintiff entered the Cook County Jail, it was

obvious to defendant Dart that a disabled person, like plaintiff, who entered the

Jail and was not assigned to an “ADA compliant” housing unit would be deprived

of rights secured by the ADA and the Rehabilitation Act and would be deprived of

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rights secured by the Fourteenth Amendment to the Constitution of the United

States.

          9.   Plaintiff was not be assigned to an “ADA compliant” housing unit

when he entered the Jail. Instead, plaintiff was assigned to a housing unit which

did not have “ADA compliant” toilet and shower facilities, or an “ADA

compliant” sink.

          10. Following his assignment to this non-ADA compliant housing unit,

plaintiff complained to correctional staff and filed numerous grievances about his

need to be assigned to an “ADA compliant” housing unit.

          11. Notwithstanding his complaints and grievances, plaintiff remains at

the Cook County Jail in a non-ADA compliant housing unit.

          12. As a result of the foregoing, plaintiff has been and continues to be

deprived of rights secured by the ADA, the Rehabilitation Act, and the Fourteenth

Amendment to the Constitution of the United States.

          13. Plaintiff hereby demands trial by jury.

          WHEREFORE, plaintiff requests that the Court grant appropriate

injunctive relief and award compensatory damages in an amount in excess of one

hundred thousand dollars and punitive damages against defendant Dart in an

amount in excess of twenty-five thousand dollars; and that the costs of this action,

including fees and costs, be taxed against the Defendants.

                                       /s/ Patrick W. Morrissey

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